OPINION — AG — ANY PURCHASE OF CORRUGATED METAL OR CONCRETE PIPE CULVERTS MADE BY THE BOARD OF COUNTY COMMISSIONERS MUST BE MADE FROM LISTS AS REQUIRED BY 69 (SENATE BILL NO. 376) AND THAT IF THE AMOUNT OF SUCH PURCHASE, INCLUDING COST OF FREIGHT AND TRANSPORTATION, BUT EXCLUDING THE COST OF LAYING THE SAME IN PLACE, IS IN EXCESS OF $1,500.00 THEN SUCH PURCHASE SHOULD BE MADE COMPETITIVE BIDS FROM SAID LISTS, AS REQUIRED BY SAID ACT; HOWEVER, A CONTRACT FOR CULVERT PIPE LAID IN PLACE WOULD BE A CONTRACT FOR ROAD WORK WHICH, UNDER SOME CIRCUMSTANCES, MIGHT BE REQUIRED TO BE LET ON BIDS, AS THEREIN DISCUSSED. CITE: 69 O.S.H. 323, 19 O.S.H. 410.9, 69 O.S.H. 45.2, 69 O.S.H. 45.3, 62 O.S.H. 430.1, 62 O.S.H. 430.2, 62 O.S.H. 430.3, 62 O.S.H. 430.4, 69 O.S.H. 48, 19 O.S.H. 3, 69 O.S.H. 181 (HIGHWAY) (RICHARD HUFF)